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 4
                               UNITED STATES DISTRICT COURT
 5                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 6
          STATE OF WASHINGTON,                               AMENDED CIVIL JUDGMENT
 7
                                  Plaintiff,                 CASE NO. 3:17-cv-5806-RJB
 8
                   v.
 9
          THE GEO GROUP, INC.,
10
                                  Defendant.
11

12
     _X     Jury Verdict. This action came to consideration before the Court for a trial by jury. The
13          issues have been tried and the jury has rendered its verdict.

     _X     Decision by Court. This action came to consideration before the Court. The issues have
14
     been considered and a decision has been rendered.
15
            THE COURT HAS ORDERED THAT
16
            Judgment is entered in favor of PLAINTIFF STATE OF WASHINGTON against
17
     DEFENDANT THE GEO GROUP, INC., in the amount of $5,950,340. Defendant is enjoined
18
     from continuing operation of the Voluntary Work Program as it has been operating without
19
     paying detainee workers the minimum wage.
20
            Dated this 4th day of November, 2021.
21
                                                    Ravi Subramanian
                                                    Clerk of Court
22
                                                    s/Tyler Campbell     l
23
                                                    Tyler Campbell, Deputy Clerk
24

     Amended Judgment
